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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                          )
COMPANY (U.S.A.) f/k/a John Hancock                  )
Life Insurance Company                               )
                                                     )
                                 Plaintiff,          )
                                                     )
         v.                                          )     Case No. 4:18-CV-02869
                                                     )
THE ESTATE OF JENNIFER LAUREN                        )
WHEATLEY, et al.                                     )
                                                     )
                                 Defendants.         )

PLAINTIFF’S OPPOSITION TO DEFENDANT THE ESTATE OF JENNIFER LAUREN
      WHEATLEY’S MOTION TO REVISE ORDER ENTERED ON 5/28/2020

         Plaintiff John Hancock Life Insurance Company (U.S.A.) f/k/a John Hancock Life

Insurance Company (“John Hancock”) provides the following opposition to Defendant The

Estate of Jennifer Lauren Wheatley’s (“Wheatley Estate”) Motion to Revise Order Entered on

5/28/2020 (the “Motion”) (ECF 147).

                 STATEMENT OF FACTS RELEVANT TO THIS OPPOSITION

         On November 1, 1992, John Hancock issued a structured settlement annuity contract to

the United States of America, Department of Justice (“USDOJ”) as Annuity Number xxxxx-

xxxxx-xxx2471 (the “Annuity”) for purposes of resolving some portion of tort litigation related

to Jennifer Wheatley (“Wheatley”). See Petition, Exhibit A. The USDOJ was designated as

Owner of the Annuity and Wheatley was designated as the Payee with her estate designated

beneficiary upon her death. Id.         On December 8, 2008, Wheatley executed a change of

beneficiary form and submitted it to John Hancock seeking to revoke previous beneficiary

designations and designate Jeremy Ward (“Ward”), her then husband, as the primary beneficiary




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and Annie R. Hall (“Hall”), Wheatley’s mother-in-law, as the secondary beneficiary. See

Petition, Exhibits B, C (ECF 1-2, 1-3).

       On November 1, 2017, John Hancock received a letter from Louis Wheatley, father of

Jennifer Wheatley, advising that Wheatley had passed away on October 18, 2017 and requesting

suspension of the automatic deposit of the monthly annuity payment. The letter stated that an

official certificate of death would be forthcoming. See Petition, Exhibit D. Louis Wheatley sent

a second letter to John Hancock on November 15, 2017 enclosing a copy of the official death

certificate for Wheatley. See Petition, Exhibit E (ECF 1-5, pg. 6). On January 15, 2018, Louis

Wheatley sent a third letter to John Hancock alerting it that an estate had been set up for

Wheatley in North Carolina and that the attorney for the estate would establish a bank account to

handle all income to the estate. The letter also enclosed a copy of the Letters of Administration

for the estate. See Petition, Exhibit E (ECF 1-5, pg. 1-4). On February 26, 2018, Louis

Wheatley sent a fourth letter to John Hancock stating that as administrator of Wheatley’s estate,

he was tasked with recovery of all of her assets. Louis Wheatley requested that John Hancock

provide a notification statement that could be provided to the probate court on the status of the

annuity and a time frame for payment to the estate to start. See Petition, Exhibit E (ECF 1-5, pg.

8-11). None of foregoing correspondence from Louis Wheatley included a formal demand for

payment of the Annuity proceeds or a completed claim form to enable John Hancock to consider

whether the Annuity proceeds should be paid to the estate.

       On March 8, 2018, John Hancock notified Louis Wheatley by letter that the designated

beneficiary was not the Wheatley Estate, that there were no benefits due to the Wheatley Estate,

and that no further action was needed. See Wheatley Estate’s Motion for Summary Judgment,

Exhibit 19 (ECF 74-1, p. 33). Following that correspondence, Louis Wheatley sent a letter to



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John Hancock on March 20, 2018, requesting the name of the designated beneficiary of the

Annuity, claiming that Wheatley was not married, had no children, and that no others had

standing as beneficiary. See Petition, Exhibit E (ECF 1-5, pg. 5). In response, on March 28,

2018, John Hancock informed Louis Wheatley that there was a designated beneficiary on file

requested by Wheatley, but that due to privacy concerns, John Hancock could not disclose the

name of the beneficiary. See Wheatley Estate’s Motion for Summary Judgment, Exhibit 21

(ECF 74-1, p. 35). On April 9, 2018, Louis Wheatley sent another letter again requesting the

name of the designated beneficiary. See Petition, Exhibit E (ECF 1-5, pg. 7). In response, on

April 10, 2018, John Hancock again relayed that it could not share the name of the beneficiary

selected by Wheatley. See Exhibit A, John Hancock 000118. On April 16, 2018, John Hancock

received a letter from Louis Wheatley wherein he disagreed with John Hancock’s assessment on

not identifying the designated beneficiary. See Petition, Exhibit E (ECF 1-5, pg. 12-14). He

stated that the Annuity was part of a federal lawsuit and that the Annuity was not owned by

Wheatley but by the USDOJ, and that the USDOJ “had do dalliance control of beneficiary. All

appointments being subject to their approval.” Id. Mr. Wheatley requested that John Hancock

make contact with the owner of the Annuity. Id.

       On May 7, 2018, John Hancock received a completed claim form from Ward providing

the necessary information to process his request for payment of the Annuity proceeds as the

designated beneficiary. On May 16, 2018, John Hancock sent Ward a payment of $12,468.06

representing the proceeds due under the Annuity for the months of November 2017 through May

2018. On June 2, 2018, John Hancock sent Ward the June 2018 Annuity payment and on July 2,

2018, John Hancock sent Ward the July 2018 Annuity payment, each in the amount of

$1,800.94.



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       On July 11, 2018, after the foregoing payments had been made to Ward, counsel for the

Wheatley Estate (Gabriel Berry Weston, L.L.P.) first notified John Hancock by letter that it

believed the beneficiary designation of Ward was void because Wheatley divorced Ward prior to

her death and, pursuant to the Decree of Divorce, Ward was not to take any property that

belonged to Wheatley. See Exhibit B, John Hancock 000144-152. Counsel stated that they

required the name of the beneficiary so that they could take action necessary to discover the

assets that properly belonged to the probate estate. Id. Following receipt of that letter and given

the evidence of competing claims, John Hancock suspended the monthly Annuity payments to

Ward. On August 8, 2018, counsel for Ward demanded documentation to support the suspension.

See Exhibit C, John Hancock 000156-159. Counsel for John Hancock was retained the same

day to pursue the filing of an interpleader action related to the proceeds of the Annuity, given the

competing claims. See Affidavit of Jennifer L. Berhorst in support of Motion for Attorney’s

Fees (ECF 77-1, ¶ 7). This action was filed on August 20, 2018, forty days after John Hancock

was notified by the Wheatley Estate that the beneficiary designation of Jeremy Ward may be

invalid.   The Wheatley Estate filed its counterclaim for breach of contract regarding the

payments made to Ward on October 12, 2018.

                                          ARGUMENT

       A motion for reconsideration “serves to allow ‘a party to correct manifest errors of law or

fact or to present newly discovered evidence.’” Perot v. Sec’y of Health and Human Servs, No.

H-06-1153, 2007 WL 446039, at *1 (S.D. Tex. Feb. 7, 2007) (quoting Templet v. Hydro Chem,

Inc., 367 F.3d 473, 478 (5th Cir. 2004). It is not to be used for “rehashing evidence, legal

theories, or arguments that could have been offered or raised before the entry of judgment.” Id.

(internal quotation omitted). Because there has been no error of law, and because the Wheatley



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Estate does not offer anything new in its Motion, the Wheatley Estate’s Motion should be

denied.

          A.     The Court Did Not Err When it Dismissed the Wheatley Estate’s Claim For
                 An Award of Statutory Interest and Attorneys’ Fees Pursuant to Tex. Ins.
                 Code § 542.058 and §542.060.

          The Wheatley Estate is not entitled to the statutory interest and attorney’s fees provided

under Sections 542.058 and 542.060 because it cannot make a viable claim for damages under

the statute.

          Section 542.058 of the Texas Insurance Code provides the following in the case of an

insurer:

          (a) Except as otherwise provided, if an insurer, after receiving all items,
          statements, and forms reasonably requested and required under Section 542.055,
          delays payment of the claim for a period exceeding the period specified by other
          applicable statues or, if other statues do not specify a period, for more than 60
          days, the insurer shall pay damages and other items as provided by Section
          542.060.
          ....
          (c) A life insurer that receives notice of an adverse, bona fide claim to all or part
          of the proceeds of the policy before the applicable payment deadline under
          Subsection (a) shall pay the claim or properly file an interpleader action and
          tender the benefits to the registry for the court not later than the 90th day after the
          date the insurer receives all items, statements, and forms reasonably requested and
          required under Section 542.055. A life insurer that delays payment of the claim
          or the filing of an interpleader and tender of policy proceeds for more than 90
          days shall pay damages and other items as provided by Section 542.060 until the
          claim is paid or an interpleader is properly filed.

Tex. Ins. Code § 542.058(a) – (c).

          The first “claim” to the Annuity proceeds received by John Hancock was from Ward,

through the completion and receipt of the claim form from Ward on May 7, 2018. At that time,

Section 542.058(a) was triggered and John Hancock had 60 days to make payment to Ward (to

which it believed was due the Annuity proceeds by way of the beneficiary designation) for all of

the past due payments, or risk becoming liable for damages to Ward under Section 542.060.

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John Hancock made such payments to Ward on May 16, 2018, before the 60 day deadline passed

on July 6, 2018. John Hancock continued to make the monthly Annuity payments to Ward as

they became due on June 2, 2018 and July 2, 2018.

       However, once John Hancock received notification from the Wheatley Estate on July 11,

2018, that Ward may not be entitled to the proceeds of the Annuity, given his divorce from

Wheatley, and that the Wheatley Estate may be entitled to the future Annuity proceeds, Section

542.058(c) was triggered, as there was now an “adverse” claim to the Annuity proceeds (those

not already paid to Ward). Had the Wheatley Estate notified John Hancock of the adverse claim

before payment was made to Ward (or within the 60 days for payment set forth in Subsection(a))

Section 542.058(c) would have been trigged as to the Annuity Payments due from November

2017 through July 2018. However, since those payments were made prior to the dispute being

raised, Subsection (c) was not triggered as to those already made payments. See Tex. Fin. Code

§ 542.058(c) (instructing a life insurer how to proceed after receiving “notice of an adverse, bona

fide claim to all or part of the proceeds of the policy before the applicable payment deadline

under Subsection (a)). Subsection 542.058(c) was only triggered as to the Annuity proceeds due

beginning in August 2018.

       John Hancock had 90 days, following receipt of the Wheatley’s July 22, 2018 letter, to

either decide to whom it should make the Annuity payments due for August 2018 forward or file

an interpleader case. Given that a bona fide dispute was present, John Hancock chose the latter,

and filed the instant interpleader case on August 20, 2018, well within the 90 day deadline

required by the statue. As such, John Hancock did not violate Section 542.058 in either instance,

and the damages provided by Section 542.060 (including statutory interest of 18% and

reasonable and necessary attorney’s fees) were not triggered. The Wheatley Estate is not entitled



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to recovery under Section 542.058 and its counterclaim for such was properly dismissed by the

Court in its May 28, 2020 Minute Entry.

       B.     The Wheatley Estate Should Only Be Awarded Prejudgment Interest on the
              Breach of Contract Claim as Set Forth In Section 304.003(c) of the Texas
              Finance Code.

       The proper remedy to the Wheatley Estate for recovery of the Annuity proceeds paid to

Ward is its breach of contract counterclaim which includes the amount of the erroneous

payments ($16,069.94) plus applicable interest as provided by the Texas Finance Code. The

Texas Supreme Court in Johnson & Higgins held that the award of common law prejudgment

interest should resemble the prejudgment interest law enacted by the Texas legislature. See

Johnson & Higgins of Texas, Inc. v. Kenneco Energy, Inc., 962 S.W.2d 507, 530-31 (1998),

superseded by statute on other grounds. Section 304.103 of the Texas Finance Code sets the

statutory prejudgment interest rate as equal to the post-judgment interest rate, which in cases

where there is no contract provision, the post-judgment interest rate is as set forth in Section

304.003. See Tex. Fin. Code § 304.103. The current interest rate provided by Section 304.003 is

five percent. See Exhibit D, Texas Credit Letter. Section 304.104 provides that prejudgment

interest begins to accrue on the earlier of (1) 180 days after the date the defendant receives

written notice of a claim or (2) the date suit is filed. Id. at § 304.104. Further, prejudgment

interest is computed as simple interest and does not compound. See Tex. Fin. Code Ann. §

304.104.

       In determining the accrual of the five percent interest applicable here, the Court should

set the accrual date at the earlier of 180 days following July 11, 2018 – the date the Wheatley

Estate first made John Hancock aware that Ward may not be entitled to the Annuity proceeds –

or January 7, 2019, or the date the counterclaim was filed – October 12, 2018. Given that



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October 12, 2018 is the earlier of those two dates, the Court should calculate simple five percent

interest on the amount of the contract claim of $16,069.94 from that date, until judgment is

awarded. As of the time of the hearing on this Motion, currently set for July 16, 2020, five

percent simple interest on $16,069.94 from the date of accrual until the date of hearing is

$1,553.43.

                                        CONCLUSION

       Plaintiff John Hancock respectfully requests the Court deny the Wheatley Estate’s

Motion to Revise Order regarding the Court’s dismissal of its fourth counterclaim, enter an order

awarding the Wheatley Estate $1,553.43 for prejudgment interest on its breach of contract

counterclaim, and for such other and further relief as the Court deems just and proper.

                                             Respectfully submitted,

                                             BRYAN CAVE LEIGHTON PAISNER LLP


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 13th day of July, 2020, the foregoing was
served upon all counsel of record through CM/ECF filing system.

                                                    /s/ Gregory J. Sachnik
                                                    Attorney for Plaintiff




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